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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,                         :
                                                  :
               Plaintiff,                         :
                                                  :
       v.                                         :      CASE NO: 7:22-CR-036 (WLS)
                                                  :
                                                  :
KEVIN RICHARD MABERRY,
                                                  :
                                                  :
           Defendant.
                                                  :
___________________________________

                                             ORDER
       The Court intends to notice this case for the May 2023 trial term. All Parties’ counsel
shall review the case, confer, and inform the Court no later than Monday, March 20, 2023,
whether any matters require a hearing or further briefing or whether the case is ready to
proceed to trial. If this case is not ready for trial, a motion to continue the trial should be filed
immediately for the Court’s timely consideration; otherwise, this case will be noticed for a
pretrial conference.
       SO ORDERED, this 3rd day of March 2023.

                                              /s/W. Louis Sands
                                              W. LOUIS SANDS, SR. JUDGE
                                              UNITED STATES DISTRICT COURT




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